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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS

  Vanguard Health & Wellness, Llc                    )      Case No. 17-04707
                                                     )
                                Debtor(s)            )      CHAPTER 11
                                                     )
                                                     )      Judge Jacqueline P. Cox


                                  NOTICE OF FILING

 TO:

 Devvrat Sinha (via electronic notice)

 United States Trustee (via electronic notice)

 Vanguard Health & Wellness, Llc, C/o Lee Zeidman,4709 Golf Rd Ste 1100 Skokie, IL
 60076

 PLEASE TAKE NOTICE that on May 6, 2018, we filed with the Clerk of the Bankruptcy
 Court a Response to Objection to Debtor’s Proposed Modified Plan of Reorganization filed
 3/8/18., copies of which are hereby served upon you.

                                                              /s/ _Xiaoming Wu
                                                              Ledford, Wu & Borges, LLC.
                                                              Attorneys at Law
                                                              105 W. Madison St., 23rd
                                                              Floor
                                                              Chicago, IL 60602
                                                              312-853-0200


                                  PROOF OF SERVICE

 I, the undersigned, certify that I caused this Notice and a copy of the attached document(s)
 to be served upon the entities named above by depositing the same in the U.S. Postal
 Service’s mail box 105 W. Madison St., 23rd Floor., Chicago, IL 60602, on May 6, 2018
 before 6:00 p.m., except that the U.S. Trustee and any other party indicated in the Notice
 of Filing were served electronically by the court on such date.

                                                              /s/ _Xiaoming Wu
                                                              Xiaoming Wu
